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                                                                                         Apr 30, 2021


                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                21- 20262-CR-SINGHAL/MCALILEY
                      CASE NO. _ _ _ _ _ _ _ _ __
                                       18 u.s.c. § 1349
                                       18 u.s.c. § 1344
                                       18 u.s.c. § 982


   UNITED STATES OF AMERICA

   vs.

   HASAN HAKIM BROWN,
   JEAN RENALD FLEURIDOR,
   and KEVIN KIRTON,


                     Defendants.
   __________ /
                                        INFORMATION

          The Acting United States Attorney charges that:

                                   GENERAL ALLEGATIONS

          At all times material to this Information:

                                            Definitions

                                   Synthetic Identification Fraud

           I.    Synthetic Identification ("SID") Fraud was a type of fraud in which a

    defendant combined stolen personal information of real victims, such as stolen social security

    numbers ("SSNs") with false and fraudulent information, such as fake names and dates of

   birth, to create a new identity which could be used to open fraudulent bank accounts, credit

    card accounts, and businesses, among other things.
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                                   The Paycheck Protection Program

          2.    In or around March 2020, the Coronavirus Aid, Relief, and Economic Security

   ("CARES") Act was enacted. It was designed to provide emergency financial assistance to

   the millions of Americans who were suffering the economic effects caused by the COVID-19

   pandemic. One source of relief provided by the CARES Act was the Paycheck Protection

   Program ("PPP"), which allowed for the authorization of up to $349 billion in forgivable

   loans to small businesses for job retention and certain other expenses. In or around April

   2020, Congress authorized over $300 billion in additional PPP funding. In order to obtain a

   PPP loan, an applicant had to submit an application listing the number of employees and

   average monthly payroll expenses for the applicant's company. The applicant also had to

   certify that the funds would be used for payroll and other authorized expenses for the

   applicant's company.

                          Relevant Financial Institutions and Related Entities

          3.    The "Victim Bank" was a bank located in San Antonio, Texas. The Victim Bank

   was insured by the Federal Deposit Insurance Corporation ("FDIC").

          4.    Lender 2 was headquartered in Fort Lee, New Jersey and was a financial

   institution federally insured by the FDIC and, as such, was authorized to lend funds to eligible

   borrowers under the terms of the PPP.

                               The Defendants and Related Entities

          5.    HASAN HAKIM BROWN resided in Aventura, Florida. HASAN HAKIM

   BROWN was listed as a registered agent in the following Florida Corporations, among

   several others, located in Miami-Dade County, and elsewhere: Tech Savvy Holding Corp;

   ("Tech Savvy"); Impeccable Yacht Cleaning Solutions ("Impeccable Yacht"); Advanced


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  Financing Inc. ("Advanced Financing"); and Local Screen Kings Inc. ("Local Screen

  Kings").

         6.   JEAN RANALD FLEURIDOR resided in Weston, Florida. FLEURIDOR

  was listed as a registered agent on the following Florida Corporations, among others, located

  in Miami-Dade County: Skyline Development ("Skyline"), Nexbit, Inc.("Nexbit"); Marquix

  Construction; and Development ("Marquix"). FLEURIDOR was also part owner of Florida

  based corporation Express Tax 1 ("Express Tax") located in Melbourne, Florida.

         7.   KEVIN KIRTON resided in Atlanta Georgia. KIRTON manufactured complex

  computer systems ("Virtualization Machines") which he sold to individuals throughout the

  United States.

                            Entities Opened in the Nam.es of Sills

         8.   The following shell company bank accounts, among others, were opened in the

  names of SIDs at the Victim Bank. The following SIDs and corresponding accounts, are

  listed in the format: SID-Fraudulent Last Name- Last Four Numbers of Victim Bank Account

  Number ("SID-Name-XXX"):

   SID name/ USAA            Indictment            Business Name
   Account                   Reference
   "Deborah Brown"           SID-Brown-7110        Deb's Housekeeping Services, Inc.
   account ending in 7110                          ("Debs Housekeeping")
   "Shannon Carter"          SID-Carter-3987       Shan's Mobile Pet Grooming, Inc.
   account ending in 3987                          (" Shan' s Mobile")
   "Nicholas Carter"         SID-Carter-3897       Cater Landscaping Services, Inc.
   account ending in 3897                          ("Carter Landscaping")




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                               Conspiracy to Commit Bank Fraud
                                        (18 u.s.c. § 1349)

         1.     The General Allegations section of this Information is hereby re-alleged and

  incorporated as though fully set forth herein.

         2.     From in or around January 2017, and continuing through on or about August

  26, 2020, in Miami-Dade and Broward Counties, in the Southern District of Florida, and

  elsewhere, the defendants,

                                  HASAN HAKIM BROWN,
                               JEAN RENALD FLEURIDOR, and
                                     KEVIN KIRTON,

  did willfully, that is, with intent to further the object of the conspiracy, and knowingly

  combine, conspire, confederate, and agree with each other, and with others known and

  unknown to the Acting United States Attorney, to knowingly, and with intent to defraud,

  execute, and cause the execution of, a scheme and artifice to defraud one or more financial

  institutions, including the Victim Bank and the Lenders, which scheme and artifice would

  employ a material falsehood, and knowingly, and with intent to defraud, execute, and cause

  the execution of, a scheme and artifice to obtain moneys and funds owned by, and under the

  custody and control of, one or more financial institutions, by means of false and fraudulent

  pretenses, representations, and promises relating to a material fact, in violation of Title 18,

  United States Code, Section 1344(1) and (2).

                               PURPOSE OF THE CONSPIRACY

         3.     It was the purpose of the conspiracy for the defendants and their co-

  conspirators to unlawfully enrich themselves, and others, by utilizing Victim Bank accounts

  that were falsely and fraudulently registered to SIDs, shell companies that were falsely and

  fraudulently registered to SIDs, and shell company bank accounts that were falsely and
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  fraudulently opened using SIDs, along with shell company bank accounts created in the

  names of the defendants, to do the following, among other things:

                 a. use falsely issued convenience checks, fraudulent credit card transactions,

                      and fraudulent money transfers to wire transfer stolen Victim Bank funds to

                      shell companies controlled by the defendants;

                 b. falsely and fraudulently apply for PPP loans for fraudulent shell companies

                      registered to the defendants, which conducted no legitimate business and

                      had no legitimate employees; and

                 c.   falsely and fraudulently apply for PPP loan relief for fraudulent shell

                      companies registered to SIDs, but controlled by the defendants, which

                      conducted no legitimate business and had no legitimate employees.

                       MANNER AND MEANS OF THE CONSPIRACY

          The manner and means by which the defendants and their co-conspirators sought

   to accomplish the purpose and object of this conspiracy included, among other things, the

   following:

                                   Victim Bank Fraud Scheme

          4.     KEVIN KIRTON created complex computer data storage virtualization

   technology machines that combined multiple physical disk drive components into one unit.

   These Virtualization Machines were designed to facilitate and automate the opening of

   fraudulent Victim Bank credit card accounts and Victim Bank accounts and to manage SID

   bank activity at the Victim Bank. The Virtualization Machines gave users the ability to access

   numerous virtual desktops and IP addresses in order to circumvent bank security. KEVIN

   KIRTON created and sold at least three Virtualization Machines, including one to HASAN

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   HAKIM BROWN, one to another a co-conspirator located in the Southern District of Florida

   ("FL-Conspirator-I"), and one to Mackenzy Toussaint a/k/a "Mack," a co-conspirator

   located in the Northern District of Texas.

          5.      KEVIN KIRTON maintained backups of the Virtualization Machines in the

   Northern District of Atlanta and occasionally monitored the use the Virtualization Machine

   users from a remote location.

          6.      HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

   conspirators registered shell companies with the Florida Division of Corporations ("Sunbiz")

   that falsely and fraudulently appeared to be associated with various service industries such as

   the yachting industry, the technology industry, and the landscaping industry, among others,

   and listed themselves and their co-conspirators as registered agents of those companies. The

   companies were false and fraudulent shell companies which conducted no legitimate business

   and had no legitimate employees.

          7.      HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

   conspirators created SIDs by falsely and fraudulently combining stolen SSNs that were

   assigned to minors and deceased individuals, among others, with false and fraudulent names

   and dates of birth.

          8.      HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

   conspirators used the Virtualization Machines, SIDs, and stolen identities to open over 700

   bank accounts at the Victim Bank ("VB Fraud Accounts"). HASAN HAKIM BROWN,

   JEAN RENALD FLEURIDOR and their co-conspirators used mail forwarding to redirect

   Victim Bank account statements and documents from their intended destination to locations

   controlled by the defendants and their co-conspirators, including co-conspirator Johnny

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   Philus, in order to conceal the fact that the defendants and their co-conspirators were

   controlling the VB Fraud Accounts.

          9.     HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

   conspirators then used the Virtualization Machines to make convenience check payments,

   credit card payments, and wire transfers, among other payment types, from the VB Fraud

   Accounts into shell company bank accounts they controlled.

          10.    For example, the following transactions, among hundreds of other

   transactions, were made by the defendants: on or about May 10, 2019, HASAN HAKIM

   BROWN caused a convenience check payment of $6,200 from the Victim Bank account

   registered to SID-Carter-6404 to a bank account registered to his shell company Advance

   Financing; and on or about October 23, 2019, JEAN RENALD FLEURIDOR caused a

   convenience check payment of $9,500 from the Victim Bank account registered to SID-

   Thomas-8376 to his shell company Skyline Development.

          11.    HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

   conspirators committed the Victim Bank fraud scheme in two separate groups. HASAN

   HAKIM BROWN and others, were part of one group and JEAN RENALD FLEURIDOR

   and others, were part of another group.

          12.    The group consisting of HASAN HAKIM BROWN and others, and the group

   consisting of JEAN RENALD FLEURIDOR and others, shared profits from the Victim

   Bank fraud scheme. Each group received approximately $1 million from their participation

   the scheme and used the money for their own benefit and for the benefit of others.




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                                        PPP Fraud Scheme


          13.    In or around May to June 2020, HASAN HAKIM BROWN, JEAN

  RENALD FLEURIDOR and their co-conspirators used their previously established shell

   companies which conducted no legitimate business and had no legitimate employees to apply

  for false and fraudulent PPP loans. Many of the applications contained paperwork that listed

  SIDs as employees of the shell companies. The defendants received the following loans based

   on false and fraudulent misrepresentations submitted to loan processing companies:

   D~te ()fPPP   .':>,
   tlij~@::11}~1
   4/4/2020              JEANRENALD          Skyline     10              0             $60,000
                         FLEURIDOR
   5/612020              HASAN HAKIM         Tech        33              0             $544,650
                         BROWN               Savvy


          14.    HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

  conspirators each received a share of the proceeds from the fraudulently obtained PPP loans,

  which was divided amongst members of the conspiracy. The PPP loans were not used for

  payroll and other authorized expenses. Instead, the loan money was used to unjustly enrich

  members of the conspiracy and others.

         15.     Additionally, HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR

  and their co-conspirators filed hundreds of additional false and fraudulent PPP loan

  applications for a fee, on behalf of individuals located in the Southern District of Florida, the

  Middle District of Florida, and elsewhere. The information on the false and fraudulent loan

   applications submitted for others contained false and fraudulent information. The proceeds




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  that the defendants received from the additional false and fraudulent PPP loan applications

  were split amongst members of the conspiracy.

          16.    In addition to filing false and fraudulent PPP loan applications for the various

  shell companies controlled by HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR

   and their co-conspirators, and filing false and fraudulent PPP loan applications for others,

  HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-conspirators

   opened shell companies and associated bank accounts in the names of SIDs.

          17.   HASAN HAKIM BROWN, JEAN RENALD FLEURIDOR and their co-

  conspirators then falsely and fraudulently applied for PPP loans in the name of shell

  companies registered to SIDs. For example, the following PPP loan applications, among

  others, were filed for shell companies registered to SIDs:

       Date              SID•/ Shell
                          ''   _,   •   -   •   '   '<>, .,   ~;::
                                                                     Loclll Disbursement
                 I',
                          CoriipaJiy
    5/14/2020          SID-Carter-3987                               $830,445 from Lender-2 to BB&T /Truist account
                        Shans Mobile                                 ending in 4279 registered to Shans Mobile.
     5/9/2020          SID-Brown-7110                                Caused payment of$1,413,157 from Lender-2 to
                            Debs                                     BB&T /Truist account ending in 8677 registered to
                        Housekeeping                                 Debs Housekeeping.
    5/11/2020          SID-Carter-3897                               Caused payment of$1,707,120 from Lender-2 to
                            Carter                                   BB&T /Truist account ending in 5240 registered to
                         Landscaping                                 Carter Landscaping.


          18.    Once the false and fraudulently obtained PPP loan proceeds were received into

  bank accounts in the name of shell companies registered to SIDs, HASAN HAKIM

  BROWN, JEAN RENALD FLEURIDOR and their co-conspirators transferred the money

  into shell company bank accounts, cash, and money orders that they controlled and used the




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   money for their own personal benefit, and for the benefit of others. For example, the

   defendants conducted the following transactions, among several other transactions:

       Date         Payment from SID Company
     5122/2020      Check payment of $48,500 from BB&T/Truist bank account ending in 5240,
                    registered to Carter Landscaping, to Tach Savvy, controlled by HASAN HAKIM
                    BROWN.
     5/2512020      Check payment of $100,000 from BB&T/Truist Bank account ending in 4279,
                    registered to Shans Mobile, to Express Tax controlled by JEAN RENALD
                    FLEURIDOR and other co-conspirators known to the Acting United States
                    Attorney.
     5/2612020      Check payment of $14,830 from BB&T/Truist Bank account ending in 8677,
                    registered to Debs Housekeeping, to Local Screen Kings controlled by HASAN
                    HAKIM BROWN.
     5126/2020      Check payment of$100,000 from BB&T /Truist account ending in 8677, in the name
                    of Debs Housekeeping, to Skyline controlled by JEAN RENALD FLEURIDOR.
     6/1/2020       Check payment of $50,000 from BB&T /Truist bank account ending in 4279,
                    registered to Shans Mobile Pet Grooming, to Tech Savvy controlled by HASAN
                    HAKIM BROWN.
     6/312020       Check payment of $200,000 from BB&T /Truist account ending in 5240, in the name
                    of Carter Landscaping, to Skyline controlled by JEAN RENALD FLEURIDOR.


     6/412020       Check payment of $50,000 from BB&T /Truist bank account ending in 8677, in the
                    name of Debs Housekeeping to Tech Savvy controlled by HASAN HAKIM
                    BROWN.
     6/4/2020       Check payment of $50,000 from BB&T /Truist bank account ending in 5240, in the
                    name of Carter Landscaping, to Impeccable Yacht controlled by HASAN HAKIM
                    BROWN.
     6/4/2020       Check payment of$20,000 from BB&T /Truist account ending in 5240, registered to
                    Carter Landscaping, to Tech Savvy controlled by HASAN HAKIM BROWN.

               In violation of Title 18, United States Code, Section 1349.

                                   FORFEITURE ALLEGATIONS

          1.        The allegations of this Information are hereby re-alleged and by this reference fully

   incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

   property in which the defendants, HASAN HAKIM BROWN, JEAN RENALD

   FLEURIDOR, and KEVIN KIRTON have an interest.

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          2.      Upon conviction of the violation of Title 18 United States Code, Section 1349,

   1344, as alleged in this Information, the defendants shall forfeit to the United States any property

   constituting, or derived from, any proceeds the defendants obtained, directly or indirectly, as the

   result of such violation pursuant to Title 18, United States Code, Section 982(a)(2)(A).

          3.      The property subject to forfeiture as a result of the alleged offenses includes, but is

   not limited to, the following:

               a. The following assets seized from the residence of HASAN HAKIM BROWN on

                  August 26, 2021:

                       1. Silver in color watch with black face (Baume & Mercier);

                      11. Rolex watch gold in color face with brown leather straps (S/N#l 16570);

                     m. Hublot watch 198 OF 1000 (black and gold chain in color face) limited

                          edition with black straps;

                     1v. $4,900.00 in U.S. currency; and

                      v. Cartier watch, gold and silver in color face, with engraved name, black

                          leather straps.

               b. The following accounts formerly on deposit at J.P Morgan Chase Bank:

                        1. Account number 321832583 held in the name ofSG Mobile Wash and Dent
                           Restoration;
                       11. Account number 451336445 held in the name of Post Commercial Property
                           Management Inc.;
                      m. Account number 109125980 in the name of Advanced Financing Inc.;
                      1v. Account number 787721690 held in the name of Local Screen Kings Inc.;
                       v. Account number 964078810 held in the name of HASAN HAKIM
                           BROWN;
                      v1. Account number 107369057 held in the name of Epic Construction and
                           Development Corp.;
                     v11. Account number 55088527 held in the name of Y.E.N. Global;
                    v111. Account number 550888882 held in the name of Y.E.N. Global; and
                      1x. Account number 834-82138 held in the name of HASAN HAKIM
                           BROWN;


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            c. The following accounts formerly on deposit at Truist Bank (formerly BB&T Bank):

                      1. Account number 1100018318707 held in the name of TB Team
                         Landscaping Inc.;
                     11. Account number 1100018318677 held in the name of Deb's Housekeeping
                         Services, Inc.;
                    111. Account number 1100018454279 held in the name of Shan's Mobile Pet
                         Grooming Inc.;
                    IV. Account number 1100018455240 held in the name of Carter Landscaping
                         Services, Inc.;
                     v. Account number 1100018453973 held in the name of KDS Mobile
                         Mechanics Inc.;
                    v1. Account number 1100018454554 held in the name of Paul's Perfect
                         Cleaning Solutions, Inc.;
                   v11. Account number 1100018455232 held in the name of BB Mobile Auto
                         Wash Inc.;
                  v111. Account number 000024 7870431 held in the name of Pristine Gardening
                         and Landscaping Inc.;
                    Ix. Account number 0000245635079 held in the name of SG Mobile Wash and
                         Dent Restoration; and
                     x. Account number 0000245634986 held in the name of White Glove Yacht
                         Cleaning Services Inc.

            d. The following accounts formerly on deposit at Azlo Bank:

                     1. Account number 6767933833 held in the name of CBS Mobile Mechanics
                        Inc.; and
                    11. Account number 6773646536 held in the name of Miller Housekeeping
                        Services, Inc.

            e. The following accounts formerly on deposit at Iberia Bank:

                     1. Account number 20001883178 held in the name of SG Mobile and Dent
                        Restoration, Inc.; and
                    11. Account number 20001883720 held in the name of Tech Savvy Holding
                        Corp.

            f.   The following accounts formerly on deposit at Bank of America:

                     1. Account number 898105938645 held in the name of Skyline, Development,
                        and Construction LLC;
                    11. Account number 898107163434 held in the name of J & F Prince Corp.;
                   111. Account number 898115813255 held in the name of J & F Prince Corp.;
                        and



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                        1v. Account number 898114716227 held m the name of Prince Property
                            Management Inc.

                g. The following accounts formerly on deposit at Wells Fargo Bank, N.A.:

                          1. Account number 1010210593794 held in the name of JEAN
                             FLEURIDOR;
                         11. Account number 9700521066 held in the name of Skyline, Development,
                             and Construction LLC;
                        111. Account number 1823721129 held in the name of Tech Savvy Holding
                             Corp.;
                        1v. Account number 6113055997 held in the name of Sibling Rivalry
                             Entertainment Inc.;
                         v. Account number 2199734662 held in the name of Impeccable Yacht
                             Cleaning Solutions Inc.;
                        v1. Account number 2199734571 held in the name of Helm Automotive Group,
                             Inc.; and
                       v11. Account number 1924 3 3 3 816 held in the name of Crew IQ Inc.

                h. The following accounts formerly on deposit at Citibank:

                         1. Account number 3290399942 held in the name of J & F Prince Corp.;
                        11. Account number 3290009997 held in the name of Prince Property
                            Management Inc.;


                1.   The following accounts formerly on deposit at Regions Bank:

                          1. Account number 0272052422 held in the name of Impeccable Yacht
                             Cleaning Solutions Inc.;
                         11. Account number 0272051906 held in the name of Tech Savvy Holding
                             Corp.;
                        111. Account number 0272052244 held in the name of Helm Automotive Group,
                             Inc.;
                        1v. Account number 0272051825 held in the name of White Glove Yacht
                             Cleaning Services; and
                         v. Account number 0272051590 held in the name of Pristine Gardening and
                             Landscaping Inc.


          5.         If any of the property subject to forfeiture, as a result of any act or omission of the

   defendant:

                a.    cannot be located upon the exercise of due diligence;



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               b.    has been transferred or sold to, or deposited with, a third party;

               c.    has been placed beyond the jurisdiction of the court;

               d.    has been substantially diminished in value; or

               e.    has been commingled with other property which cannot be divided without

                     difficulty.

   the United States shall be entitled to the forfeiture of substitute property under the provisions of

   Title 21, United States Code, Section 853(p).

           All pursuant to Title 18, United States Code, Section 982(a), and the procedures set forth

   in Title 21, United States Code, Section 853, as incorporated by Title 18, United States Code,

   Section 982(b )(1 ).




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                                                   UNITED ST ATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF FLORIDA

   UNITEDSTATESOF AMERICA                                      CASE NO . _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   v.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
   Hasan Hakim Brown et al.,
                                                               Superseding Case Information:
                                     Defendants/

    Court Division: (Select One)                               New defendant(s)       0
                                                                                      Yes      O No
    [Z)Miami      •   Key West OFTL                            Number of new defendants
    OWPB          •   FTP                                      Tota Inumber of counts
          I. I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
             witnesses and the legal complexities of the Indictment/Information attached hereto.
         2. I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
            setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
             Title 28 U.S.C. Section 3161.
         3. Interpreter: (Yes or No) _N_o_ _ _ _ _ _ __
            List language and/or dialect _ _ _ _ _ _ _ __
         4. This case will take _0_ days for the parties to try.
         5. Please check appropriate category and type of offense listed below:
                 (Check only one)                                  (Check only one)
          I      Oto 5 days                  _0_                   Petty                    _o_
          II     6 to 10 days                _o_                   Minor                    _o_
          III    11 to 20 days               _o_                   Misdemeanor              _o_
          IV     21 to 60 days               _o_                   Felony                   _o_
          V      61 days and over            _o_
         6. Has this case previously been filed in this District Court? (Yes or No) _N_o_ _ _ _ _ _ __
             If yes: Judge _ _ _ _ _ _ _ _ _ _ _ Case No. _ _ _ _ _ _ _ _ _ __
             (Attach copy of dis positive order)
             Has a complaint been filed in this matter? (Yes or No) Y_e_s_ _ _ _ _ __
             If yes: Magistrate Case No. 20-mj-03427
             Related miscellaneous numbers: - - - - - - - - -
             Defendant(s) in federal custody as of 8/29/2021 (Brown)
             Defendant( s) in state custody as of _ _ _ _ _ _ _ __
             Rule 20 from the District of
                                                   ---------
             Is this a potential death penalty case? (Yes or No)
                                                           ---------
         7. Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
            August 9, 2013 (Mag. Judge Alicia 0. Valle)?(YesorNo) _N_o_ _ _ _ _ __
         8. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
            August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) _N_o_ _ _ _ _ __
         9. Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
            October 3, 2019 (Mag. Judge Jared Strauss)? (Yes or No) No                             -..__,




                                                                                Assistant
                                                                                Court ID No.
*Penalty Sheet(s) attached                                                                                       REV 3/19/21
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

    Defendant's Name:     HASAN HAKIM BROWN

     Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

     Count#: 1

    Conspiracy to Commit Bank Fraud

     18 U.S.C. § 1349

     *Max. Penalty: 30 Years' Imprisonment




    *Refers only to possible term of incarceration, does not include possible fines, restitution,
    special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

    Defendant's Name:     JEAN RENALD FLEURJDOR

    Case No: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

    Count#: 1

    Conspiracy to Commit Bank Fraud

     18 u.s.c. § 1349

    *Max. Penalty: 30 Years' Imprisonment



    *Refers only to possible term of incarceration, does not include possible fines, restitution,
    special assessments, parole terms, or forfeitures that may be applicable.
Case 1:21-cr-20262-AHS Document 47 Entered on FLSD Docket 04/30/2021 Page 18 of 24




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

    Defendant's Name:    KEVIN KIRTON
                         ---------------------------
    Case N o : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

    Count#: 1

    Conspiracy to Commit Bank Fraud

     18 U.S.C. § 1349

    *Max. Penalty: 30 Years' Imprisonment



    *Refers only to possible term of incarceration, does not include possible fines, restitution,
    special assessments, parole terms, or forfeitures that may be applicable.
 Case 1:21-cr-20262-AHS Document 47 Entered on FLSD Docket 04/30/2021 Page 19 of 24




                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: - - - - - - - - - -

                                         BOND RECOMMENDATION



DEFENDANT: HASAN HAKIM BROWN
                  Same bond: PTO
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                              By:
                                                                     AUSA:    Brooke Watson



Last Known Address: 3030 NE 188TH ST APT 405

                        AVENTURA, FL 33180- 2858




What Facility:




Agent(s):                David Brand, FDIC-OIG
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: - - - - - - - - - -

                                         BOND RECOMMENDATION



DEFENDANT: JEAN RENALD FLEURIDOR

                 Same bond
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:
                                                             AUSA:~son




Last Known Address: 228 La Costa Way

                        Weston, Florida 33326



What Facility:




Agent(s):                David Brand, FDIC-OIG
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
 Case 1:21-cr-20262-AHS Document 47 Entered on FLSD Docket 04/30/2021 Page 21 of 24




                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                CASE NUMBER: - - - - - - - - - -

                                         BOND RECOMMENDATION



DEFENDANT: KEVIN KIRTON

                 $250,000 PSB
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:




Last Known Address:        598 BROOKS RD

                           DALT.AS GA 3Ql32-Q363
                                    5




What Facility:




Agent(s):               David Brand, FDIC-OIG
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
Case 1:21-cr-20262-AHS Document 47 Entered on FLSD Docket 04/30/2021 Page 22 of 24


AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                          for the
                                               Southern District of Florida

                 United States of America                   )
                                V.                          )       Case No.
                  HASAN HAKIM BROWN,                        )
                                                            )
                            Defendant                       )

                                             WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                      Defendant's signature




                                                                                Signature of defendant's attorney



                                                                               Printed name of defendant's attorney




                                                                                        Judge 's signature



                                                                                  Judge's printed name and title
   Case 1:21-cr-20262-AHS
   Case  1:20-mj-03472-AOR Document
                            Document4746 Entered
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                                                                  04/30/2021 Page
                                                                              Page231 of
                                                                                      of 24
                                                                                         1

AO 455 (Rev. 01/09) Waiver of an Indictment


                                         UN1TED STATES DISTRICT COURT
                                                           for the
                                                Southern District of Florida

              United States of America v.                    )
                                                             )       CaseNo.   W-MJ - 034~2.-
            JEAN RENALD FLEURIDROR,                          )
                                                             )
                               .     -
                            Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, l waive my right to prosecution by indictment and consent to prosecution by
information.




Date~JL




                                                                                Signature       r:Jefendant 's attorney

                                                                     Omttv 4. LlJ. el
                                                                               Printed n     e of defendant ·s attorney




                                                                                           Judge 's signature


                                                                                               ..
                                                                                  Judge ·sprinted name and title
Case 1:21-cr-20262-AHS Document 47 Entered on FLSD Docket 04/30/2021 Page 24 of 24


AO 455 (Rev. 01/09) Waiver ofan Indictment


                                      UNITED STATES DISTRICT COURT
                                                         for the
                                               Southern District of Florida

              United States of America v.                   )
                                                            )      Case No.
                     KEVIN KIRTON,                          )
                                                            )
                            Defendant                       )

                                             WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

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information.



Date:
                                                                                     Defendant's signature




                                                                               Signature of defendant's attorney



                                                                              Printed name of defendant's attorney




                                                                                       Judge 's signature



                                                                                 Judge 'sprinted name and title
